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                   UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF TEXAS
                         AUSTIN DIVISION
INTELLECTUAL VENTURES II LLC             §
                                         §     CIVIL NO:
vs.                                      §     AU:20-CV-00457-ADA
                                         §
VMWARE INC.                              §

        ORDER RESETTING TIME OF MARKMAN HEARING
    IT IS HEREBY ORDERED that the above entitled and numbered case is reset for
MARKMAN HEARING by Zoom on Friday, December 18, 2020 at 10:00 AM.

       IT IS SO ORDERED this 11th day of December, 2020.




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                                         ALAN D ALBRIGHT
                                         UNITED STATES DISTRICT JUDGE
